                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. 17-CR-1038-LRR
 vs.                                               ORDER REGARDING
                                              MAGISTRATE’S REPORT AND
 TOBEY HINES,                                      RECOMMENDATION
                                               CONCERNING DEFENDANT’S
               Defendant.                             GUILTY PLEA
                                 ____________________

                      I. INTRODUCTION AND BACKGROUND
       On August 24, 2017, an one hundred and three count Indictment was filed against
Defendant Tobey Hines. On October 19, 2017, Defendant appeared before United States
Chief Magistrate Judge C.J. Williams and entered a plea of guilty to Count 67 of the
Indictment. On October 20, 2017, Judge Williams filed a Report and Recommendation
in which he recommended that Defendant’s guilty plea be accepted. No objections to
Judge Williams’s Report and Recommendation were filed.             The court, therefore,
undertakes the necessary review of Judge Williams’s recommendation to accept
Defendant’s plea in this case.
                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Criminal Procedure 59(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions, where
objections are made, as follows:

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              The district judge must consider de novo any objection to the
              magistrate judge’s recommendation. The district judge may
              accept, reject, or modify the recommendation, receive further
              evidence, or resubmit the matter to the magistrate judge with
              instructions.
Fed. R. Crim. P. 59(b)(3).1
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Williams’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Williams’s Report and Recommendation of
October 20, 2017, and ACCEPTS Defendant’s plea of guilty in this case to Count 67 of
the Indictment.
       IT IS SO ORDERED.
       DATED this 6th day of November, 2017.




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         United States v. Cortez-Hernandez, 673 F. App’x 587, 590-91 (8th Cir. 2016)
(per curiam), suggests that a defendant may have the right to de novo review of a
magistrate judge’s recommendation to accept a plea of guilty even if no objection is filed.
But see 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). The district court judge will
undertake a de novo review of the Report and Recommendation if a written request for
such review is filed within fourteen days after this order is filed.

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